           Case 1:10-cr-00353-LJO Document 52 Filed 05/06/11 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   Suite 4401, Federal Courthouse
     2500 Tulare Street
 4   Fresno, CA   93721
     Telephone: (559) 497-4000
 5
 6
 7
                        UNITED STATES DISTRICT COURT
 8
                       EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,     ) 1:10-cr-00353 OWW
11                                 )
                    Plaintiff,     ) STIPULATION AND ORDER THEREON
12                                 ) FOR CONTINUANCE
                 v.                )
13                                 )
     ISRAEL ARMAS RAMIREZ,         )
14   ASCENCION ARMAS RAMIREZ,      )
       aka Juan Garcia,            )
15     aka Jose Armas,             )
       aka Asunsion Rodriguez, and )
16   LORENZO SEGUNDO GALLEGOS,     )
       aka Misael Gallegos,        )
17     aka Joaquin Gallegos,       )
       aka Pablo Segundo,          )
18                                 )
                    Defendants.    )
19   ______________________________)
20        Defendants ISRAEL ARMAS RAMIREZ, ASCENCION ARMAS RAMIREZ,
21   aka Juan Garcia, aka Jose Armas, aka Asunsion Rodriguez, and
22   LORENZO SEGUNDO GALLEGOS, aka Misael Gallegos, aka Joaquin
23   Gallegos, aka Pablo Segundo,     by and through their respective
24   attorneys, DAVID TORRES, JON RENGE and PETER M. JONES, and the
25   United States of America, by and through its attorneys, BENJAMIN
26   B. WAGNER, United States Attorney, and KAREN A. ESCOBAR,
27   Assistant United States Attorney, hereby stipulate that Status
28   Conference set for May 9, 2011, be continued to May 31, 2011 at
           Case 1:10-cr-00353-LJO Document 52 Filed 05/06/11 Page 2 of 3


 1   9:00 a.m. due to the unavailability of counsel for the
 2   government, who is on medical leave following knee replacement
 3   surgery.
 4        The parties agree that the delay resulting from the
 5   continuance shall be excluded in the interests of justice herein
 6   for effective defense preparation and review of discovery
 7   materials, plea negotiations, availability of counsel, and the
 8   filing of motions, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
 9   (B)(iv).
10
11   Dated: May 5, 2011                     Respectfully submitted,
12                                          BENJAMIN B. WAGNER
                                            United States Attorney
13
14                                    By:   /s/ Karen A. Escobar
                                            KAREN A. ESCOBAR
15                                          Assistant U.S. Attorney
16   Dated: May 5, 2011                     /s/ David Torres
                                            DAVID TORRES
17                                          Attorney for Defendant
                                            ISRAEL ARMAS RAMIREZ
18
     Dated: May 5, 2011                     /s/ Jon Renge
19                                          JON RENGE
                                            Attorney for Defendant
20                                          ASCENCION ARMAS RAMIREZ
21   Dated: May 5, 2011                     /s/ Peter M. Jones
                                            PETER M. JONES
22                                          Attorney for Defendant
                                            LORENZO SEGUNDO GALLEGOS
23
                                    O R D E R
24
          IT IS THE ORDER OF THE COURT THAT the status conference
25
     currently set in this matter for May 9 at 9:00 a.m., shall be
26
     continued to May 31, 2011, at 9:00 a.m.
27
          THE COURT FURTHER FINDS based on the reasons articulated by
28
            Case 1:10-cr-00353-LJO Document 52 Filed 05/06/11 Page 3 of 3


 1   the parties that the continuance in the “ends of justice”
 2   outweighs the interest of the public and defendant in a speedy
 3   trial under the Speedy Trial Act and the intervening period of
 4   delay shall be excluded in the interests of justice pursuant to
 5   18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
 6   IT IS SO ORDERED.
 7   Dated: May 6, 2011                    /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
